      Case: 1:13-cv-00481 Document #: 1 Filed: 01/22/13 Page 1 of 9 PageID #:1



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

DANIELLE MOWATT, individually and             )
on behalf of all others similarly situated,   )
                                              )
               Plaintiff,                     )
                                              )
       v.                                     )       Case No.:
                                              )
PLAYBOY ENTERPRISES                           )       JURY TRIAL DEMANDED
INTERNATIONAL, INC., and                      )
ADRENALINE Y2K, INC.,                         )
                                              )
               Defendants.                    )

                                CLASS ACTION COMPLAINT

       Plaintiff, Danielle Mowatt, individually and on behalf of all others similarly situated,

through her undersigned counsel, brings this class action complaint against Defendants, Playboy

Enterprises International, Inc., and Adrenaline Y2K, Inc., (collectively, “Defendants”) for

violation of the Telephone Consumer Protection Act arising out of Defendants’ unauthorized

transmission of text messages to the cellular telephones of Plaintiff and other class members.

Plaintiff, for her class action complaint, alleges as follows upon personal knowledge as to herself

and her own acts and experiences, and, as to all other matters, upon information and belief,

including investigation conducted by her attorneys.

                                     NATURE OF ACTION

       1.       Wireless spam is a growing problem in the United States. According to a recent

study conducted by the Pew Research Center, “Spam isn’t just for email anymore; it comes in the

form of unwanted text messages of all kinds—from coupons to phishing schemes—sent directly to

user’s cell phones.” In fact, “57% of adults with cell phones have received unwanted or spam text

messages on its phone.” Amanda Lenhart, Cell Phones and American Adults: They Make Just as
        Case: 1:13-cv-00481 Document #: 1 Filed: 01/22/13 Page 2 of 9 PageID #:2



Many     Calls,      but     Text   Less    than   Teens,     Pew    Research     Center    (2010)        at

http://www.pewinternet.org/~/media/Files/Reports/2010/PIP_Adults_Cellphones_Report_2010.pdf

(last visited Jan. 11, 2013).

        2.        In one such effort to promote a nightclub event, Defendants engaged in an

especially pernicious form of marketing: the transmission of unauthorized advertisements in the

form of “text message” calls to the cellular telephones of consumers throughout Illinois and the

United States.

        3.        By effectuating these unauthorized text message calls (hereinafter, “wireless

spam”), Defendants have caused consumers actual harm, not only because consumers were

subjected to the aggravation that necessarily accompanies wireless spam, but also because

consumers frequently have to pay its cell phone service providers for the receipt of such wireless

spam.

        4.        In order to redress these injuries, Plaintiff, on behalf of herself and the Class

defined herein, brings suit under the Telephone Consumer Protection Act, 47 U.S.C. § 227, et

seq. (“Telephone Consumer Protection Act” or “TCPA”), which prohibits unsolicited voice and

text calls to cell phones.

        5.        On behalf of the class, Plaintiff seeks an injunction requiring Defendants to cease

all wireless spam activities and an award of statutory damages to the class members, together

with costs and reasonable attorneys’ fees.

                                               PARTIES

        6.        Plaintiff, Danielle Mowatt, is a natural person domiciled in Illinois. Plaintiff is a

member of the class defined herein.

        7.        Defendant Playboy Enterprises International, Inc. (“Playboy”), is a Delaware



                                                   -2-
       Case: 1:13-cv-00481 Document #: 1 Filed: 01/22/13 Page 3 of 9 PageID #:3



corporation with its principal place of business in Beverly Hills, California. Playboy is engaged

in the publishing and adult entertainment business.

       8.      Defendant Global Adrenaline Y2K, Inc. (“Global Adrenaline”), is a corporation

organized under the laws of the State of Illinois with its principal place of business in Chicago,

Illinois. Global Adrenaline is an entertainment and marketing company specializing in celebrity

and “VIP” nightlife events.

                                 JURISDICTION AND VENUE

       9.      The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1331, because this is a civil action arising under the laws of the United States.

       10.     Personal jurisdiction over Defendants is proper under 735 ILCS 5/2-209(b)(4)

(corporation doing business within this State), and Section 2-209(c) (any other basis now or

hereafter permitted by the Illinois Constitution and the Constitution of the United States). 735

ILCS 5/2-209(b)(4), and (c).

       11.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(a) because a

substantial part of the events giving rise to the claim occurred in this District including, inter

alia, the transmission of unsolicited text messages to Plaintiff’s and other Class Members’

wireless telephone numbers located in this District.

                              COMMON ALLEGATIONS OF FACT

       12.     In recent years, marketers who often have felt stymied by federal laws limiting

solicitation by telephone, facsimile machine, and e-mail have increasingly looked to alternative

technologies through which to send bulk solicitations cheaply.

       13.     One of the newest types of such bulk marketing is to advertise through Short

Message Services. The term “Short Message Service” or “SMS” is a messaging system that



                                                 -3-
       Case: 1:13-cv-00481 Document #: 1 Filed: 01/22/13 Page 4 of 9 PageID #:4



allows cellular telephone subscribers to use its cellular telephones to send and receive short text

messages, usually limited to 160 characters.

       14.     An “SMS message” is a text message call directed to a wireless device through

the use of the telephone number assigned to the device.            When an SMS message call is

successfully made, the recipient’s cell phone rings, alerting him or her that a call is being

received. As cellular telephones are inherently mobile and are frequently carried on its owner’s

person, calls to cellular telephones, including SMS messages, may be instantly received by the

called party virtually anywhere worldwide.

        15.    Unlike more conventional advertisements, wireless spam can actually cost its

recipients money, because cell phone users must frequently pay its respective wireless service

providers either for each text message call they receive or incur an usage allocation deduction to

its text plan, regardless of whether or not the message is authorized.

       16.     Over the course of an extended period beginning in at least November 2012,

Defendants or their agents on acting on their behalf directed the mass transmission of thousands

of SMS text messages to the cellular telephones of Plaintiff and other members of the class

promoting an event billed as the official Playboy New Year’s Eve celebration. Members of the

class, including Plaintiff were under the age of 21 at the time.

       17.     In this case, on November 23, 2012, at 11:00 a.m. Central Daylight Time,

Plaintiff’s cellular telephone alerted her that a text message had been received.

       18.     The “from” field of such transmission was identified cryptically as “467-86,” a

format which is an abbreviated telephone number known as an SMS short code owned and/or

operated by Defendants or their agents on their behalf.

       19.     A true and correct image of the text message received by Plaintiff appears below:



                                                 -4-
      Case: 1:13-cv-00481 Document #: 1 Filed: 01/22/13 Page 5 of 9 PageID #:5




       20.     Upon information and belief, at all times relevant hereto, the URL contained in

the above text message, http://ow.ly/fwlSl, linked to a website owned and operated by

Defendants or by their agents on their behalf, and promoted an adults only nightlife event

featuring Playboy Playmates, casino gambling, bar service and musical entertainment.

       21.     The same adult nightlife event was promoted by Defendants or by their agents on

their behalf at http://www.newyearshiltonchicago.com.

       22.     Upon information and belief, the telephone number described above is owned and

operated by Defendants or by their agents on their behalf.

       23.     Through the use of the above-described SMS short code, Defendants transmitted

unsolicited text messages to a list of cellular telephone numbers, including Plaintiff’s, that they

created or that was obtained by them.

       24.     At no time did Plaintiff consent to the receipt of the above-referenced text

message or any other wireless spam from Defendants.

                              CLASS ACTION ALLEGATIONS

       25.     Plaintiff brings this action pursuant to Federal Rule of Civil Procedure 23(b)(2)

                                                -5-
       Case: 1:13-cv-00481 Document #: 1 Filed: 01/22/13 Page 6 of 9 PageID #:6



and Rule 23(b)(3) on behalf of herself and a Class (the “Class”) defined as follows:

                   All persons in the United States and its Territories who received
                   one or more unsolicited SMS text messages sent by or on behalf of
                   Playboy Enterprises International, Inc., Adrenaline Y2K, Inc. or
                   both promoting a New Year’s eve nightlife event at the Chicago
                   Hilton on December 31, 2012.

        26.        Excluded from the Class are Defendants and any of their officers, directors or

employees, the presiding judge, and members of their immediate families. Plaintiff hereby

reserves her right to amend the above Class and subclass definition based on discovery and the

proofs at trial.

        27.        In order to make en masse transmissions of text message advertisements

economical, Defendants or their agents used one or more short codes to transmit the text

messages to thousands of consumers' cellular telephone numbers. As such, the Class consists of

thousands of individuals and other entities, making joinder impracticable.

        28.        Plaintiff will fairly and adequately represent and protect the interests of the other

members of the Class. Plaintiff has retained counsel with substantial experience in prosecuting

complex litigation and class actions. Plaintiff and her counsel are committed to vigorously

prosecuting this action on behalf of the members of the Class, and have the financial resources to

do so. Neither Plaintiff nor her counsel has any interest adverse to those of the other members of

the Class.

        29.         Absent a class action, most members of the Class would find the cost of

litigating its claims to be prohibitive, and will have no effective remedy. The class treatment of

common questions of law and fact is also superior to multiple individual actions or piecemeal

litigation in that it conserves the resources of the courts and the litigants, and promotes

consistency and efficiency of adjudication.



                                                    -6-
       Case: 1:13-cv-00481 Document #: 1 Filed: 01/22/13 Page 7 of 9 PageID #:7



       30.        Defendants have acted or failed to act on grounds generally applicable to the

Plaintiff and the other members of the Class in transmitting the wireless spam at issue, requiring

the Court’s imposition of uniform relief to ensure compatible standards of conduct toward the

members of the Class.

       31.        The factual and legal bases of Defendants’ liability to Plaintiff and to the other

members of the Class are the same, resulting in injury to the Plaintiff and to all of the other

members of the Class as a result of the transmission of the wireless spam alleged herein. Plaintiff

and the other Class Members have all suffered harm and damages as a result of Defendants’

unlawful and wrongful conduct described herein.

       32.       There are many questions of law and fact common to the claims of Plaintiff

and the other members of the Class, and those questions predominate over any questions that

may affect individual members of the Class. Common questions for the Class include, inter alia,

the following:

                 (a)    Whether the wireless spam Defendants distributed violates the TCPA;

                 (b)    Whether Defendants acted willfully and, if so, whether Plaintiff and Class

       Members are entitled to treble damages; and

                 (c)    Whether the conduct alleged herein above violated class members’ right to

       privacy.

                                              COUNT I

       (Violation of the Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq.)

       33.       Plaintiff incorporates by reference the foregoing allegations as if fully set

forth herein.

       34.       Defendants made unsolicited commercial text calls, including the message



                                                  -7-
        Case: 1:13-cv-00481 Document #: 1 Filed: 01/22/13 Page 8 of 9 PageID #:8



transcribed above, to the wireless telephone numbers of the Class. Each such text message call

was made using equipment that had the capacity to store or produce telephone numbers using a

random or sequential number generator and to dial such numbers. By using such equipment,

Defendants were able to effectively send text messages to thousands of consumers’ wireless

telephone numbers without human intervention.

        35.    These text calls were made en masse through the use of a short code without the

prior express consent of the Plaintiff and the other Members of the Class to receive such wireless

spam.

        36.    Defendants have, therefore, violated Section 227(b)(1)(A)(iii) of the TCPA. As a

result of Defendants’ conduct, Plaintiff and the Members of the Class suffered actual damages by

having to pay their respective wireless carriers for receipt of such text messages where applicable

and, under section 227(b)(3)(B), are each entitled to, inter alia, a minimum of $500.00 in

damages for each violation of such act.

        37.    Because Defendants had knowledge that Plaintiff and the Class did not consent to

the receipt of the aforementioned wireless spam, the Court should, pursuant to Section

227(b)(3)(C), treble the amount of statutory damages recoverable by the Plaintiff and the other

Members of the Class.

        WHEREFORE, Plaintiff, Danielle Mowatt, on behalf of herself and the Class, prays for

the following relief:

               A.       An order certifying this case as a class action pursuant to Federal Rule of

Civil Procedure 23(b)(2) and Rule 23(b)(3) on behalf of the Class defined herein, and appointing

Plaintiff as representative of the Class and her counsel as Class counsel;

               B.       An award of actual and statutory damages;



                                                -8-
     Case: 1:13-cv-00481 Document #: 1 Filed: 01/22/13 Page 9 of 9 PageID #:9



             C.      An injunction requiring Defendants to cease all wireless spam activities;

             D.      An award of reasonable attorneys’ fees and costs; and

             E.      Such further and other relief the Court deems just and appropriate.

                                       JURY DEMAND

      Plaintiff hereby demands a trial by jury on all issues so triable.

DATED: January 22, 2012                              Respectfully submitted,

                                                     DANIELLE MOWATT


                                             By:     s/ William M. Sweetnam
                                                     One of Her Attorneys

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                                               -9-
